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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK.

 

 

UNITED STATES OF AMERICA,
Vv. 22-CR-0013 JLS
LAMBORGHINI LUCAS, _
Defendant. SLED
MAT 20

PLEA AGREEMENT Ves ee

The defendant, LAMBORGHINI LUCAS, and the United States Attorney for the
Western District of New York (hereinafter “the government”) hereby enter into a plea

agreement with the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE
1. The defendant agrees to waive indictment and to plead guilty to a one-count
Information which charges a violation of Title 18, United States Code, Section 922(a)(1)(A)
(manufacturing firearms without a license) for which the maximum possible sentence is a
term of imprisonment of 5 years, a fine of $250,000, a mandatory $100 special assessment,
and a term of supervised release of at least 1 year and up to 3 years. The defendant
understands that the penalties set forth in this paragraph are the minimum and maximum

penalties that can be imposed by the Court at sentencing.
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2. The defendant understands that, if it is determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required
to serve in prison all or part of the term of supervised release, up to 2 years, without credit for
time previously served on supervised release. As a consequence, in the event the defendant
is sentenced to the maximum term of incarceration, a prison term imposed for a violation of
supervised release may result in the defendant serving a sentence of imprisonment longer than

the statutory maximum set forth in { 1 of this agreement.

Il. ELEMENTS AND FACTUAL BASIS
3. The defendant understands the nature of the offense set forth in {1 of this
agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crime:
a. That the defendant was not licensed to manufacture firearms; and,

b. That the defendant willfully engaged in the business of manufacturing
firearms.

FACTUAL BASIS
4, The defendant and the government agree to the following facts, which form the
basis for the entry of the plea of guilty, including relevant conduct:

a. On August 6, 2021, law enforcement executed a New York State search
warrant at the residence of the defendant, LAMBORGHINI LUCAS,
located at 495 Woodlawn Avenue, Upper Apt., Buffalo, New York.
Law enforcement made entry securing the residence and did not
encounter anyone inside the apartment. After the location was secure,
law enforcement performed a search of the location.
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During the search warrant, law enforcement located a Polymer 80
PF940SC 9mm privately manufactured firearm (“PMF”), or “ghost
gun,” loaded with nine rounds of 9mm ammunition under the mattress
of the front bedroom. Law enforcement recovered, directly next to this
firearm, mail addressed to LUCAS. Within a laundry basket full of
clothing, officers recovered three Polymer 80 PF940SC 9mm PMFs.
LUCAS admits that he manufactured all of the aforementioned PMF's.

Law enforcement also recovered, from the residence’s living room area,
a United States Postal Box sent from “JSD Supply”. JSD Supply sells
“JSD 80% Lower Receivers, Jigs, and Gun Parts Kits . . . 80% lower
build kits are used to create fully functional firearms with no registration
or serial numbers[.]” Within this box, law enforcement recovered a
receipt addressed to Mike Tate, 495 Woodlawn, “User”
mrlambolights@gmail.com. The receipt displays the purchase of
multiple items, including three “PF940SC Full build kit-Minus
Frame[s]”, two “Polymer 80 PF940SC Black[s]”, and one “Polymer 80
PF940SC Gray,” for a total cost of $1,259.94.

Throughout the living area and kitchen, law enforcement located three
Polymer 80 boxes, three Polymer 80 jigs, rotary bits, and a power drill.
The defendant admits that he used each of these items to manufacture
Polymer 80-style PMF's.

The Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) has
reviewed the Federal Firearms Licensee (“FFL”) and Firearms
Manufacturers databases. The ATF confirmed that the defendant does
not hold, and has never held, a FFL or a license to manufacture or deal
in firearms.

The defendant admits that he willfully engaged in the business of
manufacturing firearms without a license authorizing him to
manufacture firearms.

The defendant admits and agrees that at least three firearms but less than
seven firearms is the number of firearms involved in the defendant’s
relevant conduct encompassed in the Information which could be
readily proven by the government at trial or at a sentencing hearing.
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I. SENTENCING GUIDELINES
5. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEVEL
6. The government and the defendant agree that Guidelines § 2K2.1(a)(7) applies

to the offense of conviction and provides for a base offense level of 12.

SPECIFIC OFFENSE CHARACTERISTICS
U.S.S.G. CHAPTER 2 ADJUSTMENTS

7. The government and the defendant agree that the following specific offense
characteristics do apply:

a. The two-level increase pursuant to Guidelines § 2K2.1(b)(1)(A) (3-7
firearms); and,

b. the four-level increase pursuant to Guidelines § 2K2.1(b)(5) (trafficking
of firearms).

ADJUSTED OFFENSE LEVEL

8. Based on the foregoing, it is the understanding of the government and the

defendant that the adjusted offense level for the offenses of conviction is 18.

ACCEPTANCE OF RESPONSIBILITY
9. At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two-level downward adjustment of Guidelines § 3E1.1(a) (acceptance of

responsibility), and further agrees to move the Court to apply the additional one-level
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downward adjustment of Guidelines § 3E1.1(b), which would result in a total offense level

of 15.

CRIMINAL HISTORY CATEGORY
10. It is the understanding of the government and the defendant that the
defendant’s criminal history category is I. The defendant understands that if the defendant
is sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant’s criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.

GUIDELINES’ APPLICATION, CALCULATIONS AND IMPACT

 

11.  Itis the understanding of the government and the defendant that, with a total
offense level of 15 and criminal history category of I, the defendant’s sentencing range would
be a term of imprisonment of 18 to 24 months, a fine of $7,500 to $75,000, and a period of
supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that at
sentencing the defendant is subject to the minimum and maximum penalties set forth in { 1

of this agreement.

12. | The government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.

This paragraph reserves the right to the government and the defendant to bring to the attention
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of the Court all information deemed relevant to a determination of the proper sentence in this

action.

13. The defendant understands that the Court is not bound to accept any .
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the plea of guilty based on the sentence imposed by the Court.

14. In the event that the Court contemplates any Guidelines adjustments,
departures, or calculations different from those agreed to by the parties above, the parties

reserve the right to answer any inquiries by the Court concerning the same.

IV. STATUTE OF LIMITATIONS

15. Inthe event the defendant’s plea of guilty is withdrawn, or conviction vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any federal criminal offense, which
is not time barred as of the date of this agreement. This waiver shall be effective for a period
of six months following the date upon which the withdrawal of the guilty plea or vacating of

the conviction becomes final.
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Vv. REMOVAL
16. The defendant represents that he is a citizen of the United States. However, if
the defendant is not a citizen of the United States, the defendant understands that, if
convicted, the defendant may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

VI. GOVERNMENT RIGHTS AND OBLIGATIONS

 

17. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant’s background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant’s criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant’s behalf that are inconsistent with the information and
evidence available to the government;

c. advocate for a specific sentence consistent with the terms of this
agreement;
d. modify its position with respect to any sentencing recommendation or

sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor; and,

e. oppose any application for a downward departure and/or sentence
outside the Guidelines range made by the defendant.

18. At sentencing, the government will move to dismiss the Criminal Complaint

pending under Magistrate’s Number 21-mj-5165-MJR.
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19. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

Vit. APPEAL RIGHTS

20. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for imprisonment,
a fine and supervised release set forth in Section III, { 11, above, notwithstanding the manner
in which the Court determines the sentence. In the event of an appeal of the defendant’s
sentence by the government, the defendant reserves its right to argue the correctness of the

defendant’s sentence.

21. The defendant understands that by agreeing to not collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law which

the defendant believes would justify a decrease in the defendant’s sentence.

22. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment, a fine, and supervised release set forth in Section ITI, 11, above,

notwithstanding the manner in which the Court determines the sentence. However, in the
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event of an appeal from the defendant’s sentence by the defendant, the government reserves

its right to argue the correctness of the defendant’s sentence.

VIO. FORFEITURE PROVISIONS
23. The defendant acknowledges that the defendant is the owner and/or exercised
dominion and control of the firearms and ammunition described below and agrees that the
firearms and ammunition constitute a nuisance as provided for in New York Penal Law
§ 400.05. The property is described as follows:
a. Four (4) Polymer 80 9mm caliber handguns, Model PF940SC;
b. One (1) Polymer 80 firearm frame; and,

Cc. One (1) magazine and nine (9) rounds of 9mm caliber ammunition.

24. The defendant agrees that the above-described property is subject to forfeiture
and waives any and all statutory and constitutional rights, including, but not limited to, time
restrictions and notice provisions with respect to the final disposition or forfeiture of the above

property. The defendant further agrees to the destruction of the property described above.

25. The defendant agrees that in the event this plea agreement is voided for any
reason, the agreement for forfeiture, abandonment, and disposition of the property described

above survives and shall be given full force and effect.
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VI. TOTAL AGREEMENT AND AFFIRMATIONS
26. This plea agreement represents the total agreement between the defendant,
LAMBORGHINI LUCAS, and the government. There are no promises made by anyone
other than those contained in this agreement. This agreement supersedes any other prior

agreements, written or oral, entered into between the government and the defendant.

TRINI E. ROSS

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BY:
— SETH ¥/MOLISANI
Assistant United States Attorney

 

Dated: March 3, 2022

I have read this agreement, which consists of pages 1 through 10. I have had a full
opportunity to discuss this agreement with my attorney, Michael L. D’Amico, Esq. | agree
that it represents the total agreement reached between me and the government. No promises
or representations have been made to me other than what is contained in this agreement. I
understand all of the consequences of my plea of guilty. I fully agree with the contents of

this agreement. I am signing this agreement voluntarily and of my own free will.

Lata Glee ba

 

 

LAMBORGHINI LUCAS — MICHAEL D’AMICO
Defendant Attorney for the Defendant
Dated: March. 3 , 2022 Dated: March oS , 2022

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